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Patrick M. Lynch
State Bar #24065655
Quilling, Selander, Lownds, Winslett
& Moser, P.C.
2001 Bryan St., Suite 1800
Dallas, TX 75201
Telephone: (214) 880-1864
Fax: (214) 871- 2111
plynch@qs1wm.com

Attorney For Ally Bank



                      UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF TEXAS (HOUSTON)

In re:
                                                    Case No. 22-33553
ALEXANDER E. JONES
AKA: ALEX JONES
                            Debtor(s).

ALLY BANK,                                              Chapter 7
                              Movant.

v.

ALEXANDER E. JONES
                          Debtor(s),

                              Respondent(s).

                    MOTION TO CONFIRM NO STAY IN EFFECT

THIS IS A MOTION TO CONFIRM NO STAY IN EFFECT. IF YOU OBJECT TO THE
MOTION TO CONFIRM NO STAY IN EFFECT, YOU SHOULD CONTACT THE
MOVANT IMMEDIATELY TO TRY TO REACH AN AGREEMENT. IF YOU CANNOT
REACH AN AGREEMENT, YOU MUST FILE A WRITTEN RESPONSE AND SEND A
COPY TO MOVANT NOT LATER THAN JULY 1, 2024 AND YOU MUST ATTEND THE
HEARING.

THE COPY SENT TO THE MOVANT MUST BE DELIVERED BY HAND OR
ELECTRONIC DELIVERY IF IT IS SENT LESS THAN 7 DAYS PRIOR TO THE
HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE HEARING MAY BE
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AN EVIDENTIARY HEARING AND THE COURT MAY GRANT OR DENY RELIEF
FROM THE STAY BASED ON THE EVIDENCE PRESENTED AT THIS HEARING. IF
A TIMELY OBJECTION IS FILED, THE COURT WILL CONDUCT A HEARING ON
THIS MOTION ON JULY 16, 2024 AT 10:00 AM IN COURTROOM 401, 515 RUSK,
HOUSTON, TX 77901.

TO THE HONONORABLE UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW, Ally Bank ("Movant"), files this Motion to confirm no stay in effect and

shows into the court as follows:

       1.      This United States Bankruptcy Court for the SOUTHERN District of TEXAS has

jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157 and 1334 and 11 U.S.C. § 362. This

is a core proceeding within the meaning of 28 U.S.C. §§ 157(b)(2)(A), (G), and (O).

       2.      On December 2, 2022, Debtor filed a voluntary bankruptcy petition under Chapter

11 of Title 11 of the United States Code; this case converted to Chapter 7 on June 14, 2024.

       3.      Movant is the owner of the vehicle identified as a 2020 Chevrolet Tahoe Utility 4D

LT 4WD 5.3L V8, V.I.N. # 1GNSKBKCXLR288493 (the "Vehicle"). Copies of the Lease

Agreement (the "Lease") and Certificate of title are attached to the Affidavit as Exhibits "A" and

"B", respectively.

       4.      As of filing of the Motion, lease balance is of $53,824.87.

       5.      The Debtor is a third party and has not signed on the Contract. Debtor's amended

plan shows the vehicle as non exempted property.

       6.      Additionally, Debtor's amended schedules (Doc. 501) removed the Vehicle from

the schedules. However it's still mentioned in Debtor's plan (Doc. 590) filed on January 29, 2024

       7.      Accordingly, movant seeks an order confirming that the automatic stay is not in

effect as to the Vehicle, pursuant to 11 U.S.C. § 362 (c) (4)(A)(i).

       WHEREFORE, Movant respectfully requests the Court to enter an order confirming the
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termination of the automatic stay and granting such other relief that the court may deem just proper.

Movant also asks that any order granted under this motion shall remain in effect in the event this

case is converted to another bankruptcy chapter.

                                                          Respectfully submitted:
                                                          /s/ Patrick M Lynch
                                                          Patrick M. Lynch
                                                          State Bar #24065655
                                                          Quilling, Selander, Lownds, Winslett
                                                          & Moser, P.C.
                                                          2001 Bryan St., Suite 1800
                                                          Dallas, TX 75201
                                                          Telephone: (214) 880-1864
                                                          Fax: (214) 871- 2111
                                                          plynch@qs1wm.com

                                                          Attorney For Ally Bank
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                            CERTIFICATE OF CONFERENCE

       I hereby certify that, on February 29, 2024, my office sent an email to counsel for the

Debtor concerning this Motion. Counsel informed my office that the Debtor has not responded.




                                                         /s/ Patrick M Lynch
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2024, a true and correct copy of the above motion was
served via electronic means, if available, otherwise by regular, first-class mail, to:


 Via CM/ECF:                                        Via US Mail:

 Vickie L Driver                                    Alexander E. Jones
 Crowe & Dunlevy, P.C.                              c/o 2525 McKinnon Street
 2525 McKinnon St.                                  Suite 425
 Ste 425                                            Dallas, TX 75201
 Dallas, TX 75201
 Vickie.Driver@crowedunlevy.com                     Free Speech Systems, LLC
                                                    c/o Patrick Magill
 US Trustee                                         3019 Alvin Devane Blvd.
 Office of the US Trustee                           Ste 300
 515 Rusk Ave                                       Austin, TX 78741
 Ste 3516
 Houston, TX 77002                                  Official Committee Of Unsecured Creditors
 USTPRegion07.HU.ECF@USDOJ.GOV                      David Franklin Hill IV
                                                    Akin Gump Strauss Hauer & Feld LLP
                                                    One Bryant Park
                                                    New York NY 10036-1000
                                                    New York (5507314)

 Via US Mail:                                       Bennett G. Fisher
                                                    Daniel David
Kyle J. Kimpler                                     LEWIS BRISBOIS BISGAARD & SMITH
Stephanie P. Lascano                                24 Greenway Plaza, Suite 1400
Vida Robinson                                       Houston, Texas 77046
Paul Paterson
PAUL, WEISS, RIFKIND, WHARTON &                     Bradley J. Reeves
GARRISON LLP                                        REEVES LAW, PLLC
1285 Avenue of the Americas                         702 Rio Grande St., Suite 203
New York, NY 10019-6064                             Austin, Texas 78701

Stephen A. Roberts                                  Christopher Hopkins
Stephen A. Roberts, PC                              PAUL, WEISS, RIFKIND, WHARTON &
1400 Marshall Ln                                    GARRISON LLP
Austin, TX 78703                                    1285 Avenue of the Americas
                                                    New York, NY 10019-6064
ATTORNEY FOR RICHARD M. COAN,
      Case 22-33553 Document 711 Filed in TXSB on 06/17/24 Page 6 of 6




AS CHAPTER 7 TRUSTEE FOR               JOHN MALONE, PLLC
THE ESTATE OF ERICA LAFFERTY           John Malone
Ryan E. Chapple                        5400 Bosque Blvd., Ste. 308
CAIN & SKARNULIS PLLC                  Waco, Texas 76710
303 Colorado Street, Suite 2850
Austin, Texas 78701                    MCCARTHY & HOLTHUS, LLP
                                       Cole Patton
Rachel C. Strickland,                  Yoshie Valadez
Stuart R. Lombardi,                    Nancy Lee
Ciara A. Sisco                         1255 West 15th Street Suite 1060
WILLKIE FARR & GALLAGHER LLP           Plano, TX 75075
787 Seventh Avenue
New York, New York 10019               DELIA GARZA
and                                    Jason A. Starks
Jennifer J. Hardy                      Travis County Attorney
WILLKIE FARR & GALLAGHER LLP           P.O. Box 1748
600 Travis Street                      Austin, TX 78767
Houston, Texas 77002
                                       Avi Moshenberg
Nicholas R. Lawson                     1001 Fannin Street
1001 Fannin Street                     Suite 2400
Suite 2400                             Houston, TX 77002
Houston, TX 77002
                                       Ira S. Dizengoff
Elizabeth C. Freeman                   Akin Gump Strauss Hauer & Feld LLP
LAW OFFICE OF LIZ FREEMAN              One Bryant Park, 41st Floor
PO BOX 61209                           New York, NY 10036
Houston, Texas 77208-1209
                                       Jarrod B. Martin
Melissa A. Haselden                    Chamberlain Hrdlicka
Haselden Farrow PLLC                   1200 Smith Street, Suite 1400
700 Milam, Suite 1300                  Houston, TX 77002
Pennzoil Place
Houston, Texas 77002

Shelby A. Jordan
Antonio Ortiz
JORDAN & ORTIZ, P.C.
500 North Shoreline Blvd, Suite 900
Corpus Christi, Texas 78401


                                         /s/Cathy bush
                                         4515 N. Santa Fe Ave.
                                         Oklahoma City OK 73118
